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                                                                        .
                IN THE UNITED STATES DISTRICT COURT                                 20190C129 PM I:t6
                 FOR THE WESTERN DISTRICT OF TEXAS
                           AUSTIN DIVISION                                        vPtEri
 BANDSPEED, LLC.                   §
                                                       §
                                                       §
         Plaintiff,
                                                           CIVIL ACTION NO. 1:19-C V-225-LY
 v.                                                    §
                                                       §
 CURTIS INTERNATIONAL LTD..                            §
                                                       §
         Defendants.                                   §
                                                       §


                                              ORDER

        This matter came before the Court upon the Rule 41 Joint Motion to Dismiss filed by

Plaintiff Bandspeed LLC ("Bandspeed") and Defendant Curtis International Ltd. ("Curtis").

Pursuant to Rule 41 of the Federal Rules of Civil Procedure, it is hereby:

        ORDERED that all claims, answers, affirmative defenses and counterclaims asserted by

Bandspeed against Curtis in this action are hereby dismissed with prejudice, subject to the Court's

reservation ofjurisdiction over the parties to enforce the parties' settlement agreement. It is further

        ORDERED that all claims, answers, affirmative defenses and counterclaims asserted by

Curtis against Bandspeed in this action are hereby dismissed without prejudice, subject to the

Court's reservation ofjurisdiction over the parties to enforce the parties' settlement agreement. It

is further

        ORDERED that Bandspeed and Curtis shall all bear their own costs, expenses and legal

fees in this case.




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SIGNED




                                      STATES DISTRICT JUDGE
